 4:13-bk-12806 Doc#: 68 Filed: 01/06/14 Entered: 01/06/14 12:17:28 Page 1 of 2



                     IN THE UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF ARKANSAS
                               LITTLE ROCK DIVISION


IN RE:         PATRICIA WALKER,                                   Case No. 4:13-BK-12806-JGM
               Debtor                                                                Chapter 7


JPMORGAN CHASE BANK, N.A.                                                              MOVANT

vs.

PATRICIA WALKER, Debtor; and
JAMES F. DOWDEN, Trustee                                                        RESPONDENTS



                                              ORDER


       Before the Court is the motion of Movant, JPMorgan Chase Bank, National Association, for

relief from the automatic stay and for abandonment of the property described below from the estate,

and the Court, being fully advised, finds that there is no opposition to the motion and that the

motion should be granted. Rule 4001(a)(3) does not apply in this case.

       IT IS THEREFORE ORDERED that relief from the automatic stay is hereby granted, the

property is hereby abandoned from the bankruptcy estate, and Movant is free to pursue its state law

remedies against the following-described real property:

       Lot 455, Otter Creek Community, Phase IV-A, now in the City of Little Rock,
       Pulaski County, Arkansas.

       Also known as: 14200 Wimbledon Loop, Little Rock, Arkansas 72210

       In the event that the proceeds of any sale conducted pursuant to a foreclosure proceeding

exceeds the amount of the foreclosure judgment, then Movant shall remit said excess proceeds to

the Trustee for disbursement to other creditors.




                                  Entered On Docket: 01/06/2014
  4:13-bk-12806 Doc#: 68 Filed: 01/06/14 Entered: 01/06/14 12:17:28 Page 2 of 2



        IT IS SO ORDERED.
                                                       Dated: 01/06/2014

                                               __________________________________________
                                               James G. Mixon
                                               United States Bankruptcy Judge

                                               DATE:       ______________________________



APPROVED AS TO FORM:

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By:     /s/ Matthew McKay________________
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